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                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

 LOGAN PAUL                                             §
                                                        §
            Plaintiff,                                  §
                                                        §
 v.                                                     §       Civil Action No. 5:24-CV-00717
                                                        §
 STEPHEN FINDEISEN and COFFEE                           §
 BREAK PRODUCTIONS, LLC,                                §
                                                        §
            Defendants.                                 §
                                                        §

        DEFENDANTS’ MOTION TO TRANSFER AND STAY PROCEEDINGS

TO THE HONORABLE COURT:

        Defendants Stephen Findeisen and Coffee Break Productions, LLC d/b/a Coffeezilla

bring this Motion to Transfer and Stay Proceedings and in support respectfully show:

                                            INTRODUCTION

        In 2023,



               1
                   . See Exs. A, B, C. Around the same time, investors in the failed project brought

a class action lawsuit against Paul, Don Holland v. CryptoZoo Inc., et al., No. 1:23-CV-110

(W.D. Tex., Austin Division). Unable to obtain discovery                                                 with

the Holland case effectively stayed while the court considered motions to dismiss, Paul

strategically filed this lawsuit to punish the reporter who helped to uncover his cryptocurrency

scam and gain discovery to defend himself in the pending                              civil proceedings.



        1
            In 2022, Coffeezilla was communicating with Government agencies regarding
            Paul, CryptoZoo, and other cryptocurrency projects involving Paul. See ECF No. 62-1, p. 5.
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         “The ‘first to file’ rule is grounded in principles of comity and sound judicial

administration.” Id. Comity requires “courts of coordinate jurisdiction and equal rank to

exercise care to avoid interference with each other’s affairs.” Id. The “first to file” rule seeks

to avoid the waste caused by duplication, avoid rulings that may run afoul of sister courts,

and avoid piecemeal resolution of issues that call for uniform results. Id.

         The “first to file” rule can be applied where related cases have been filed in different

districts or where, as here, related cases are pending before two judges in the same district. Id.

   II.      “First to file” procedure

         “[W]hen related cases are pending before two federal courts, the court in which the

case was last filed may refuse to hear it if the issues raised by the cases substantially overlap.”

Cadle Co. v. Whataburger of Alice, Inc., 174 F.3d 599, 603 (5th Cir. 1999). Although the “first to

file” rule is discretionary, courts in this district often apply it when two cases substantially

overlap. Id.; see, e.g., Gonzalez v. Unitedhealth Grp., Inc., No. 6:19-CV-00700-ADA, 2020 WL

2992174, at *1–2, 5 (W.D. Tex. June 3, 2020); Lopez v. Spartan Energy Servs., LLC, No. CV

SA-15-CA-1053-DAE, 2016 WL 11582848, at *5–6 (W.D. Tex. Mar. 4, 2016), report and

recommendation adopted, No. 5:15-CV-1053-DAE, 2016 WL 11582845 (W.D. Tex. Mar. 17,

2016); Yeti Coolers, LLC v. Beavertail Prods., LLC, No. 1-15-CV-415 RP, 2015 WL 4759297, at

*2–4 (W.D. Tex. Aug. 12, 2015); Needbasedapps, LLC v. Robbins, 926 F. Supp. 2d 919, 931–34

(W.D. Tex. 2013); Lear Siegler Services v. Ensil Int’l. Corp., No. SA-05-CA-0679-XR, 2005 WL

2645008, at *2–3 (W.D. Tex. Sept. 20, 2005).

         The “first to file” rule consists of two steps. First, the court in which the second-filed

case determines whether there is a likelihood of substantial overlap between the first-filed and

second-filed cases. Save Power Ltd., 121 F.3d at 951–52. Second, if there is a likelihood of


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substantial overlap exists, the court in which the second-filed case is pending transfers it to

the court in which the first-filed case is pending to determine whether the second-filed case

should be dismissed, stayed, or transferred and consolidated. Id.; Yeti Coolers, 2015 WL

4759297, at *2.

   III.    The “first to file” rule applies here because a likelihood of substantial overlap
           exists between this case and the Holland case.

       Application of the “first to file” rule is appropriate here because it would be inefficient

for two courts to determine whether Paul scammed investors in his CryptoZoo project. See

Hart v. Donostia LLC, 290 F. Supp. 3d 627, 631 (W.D. Tex. 2018) (“Application of the [“first

to file”] rule. . . is sound because it is inefficient for two courts to determine one defendant’s

liability to the same class of plaintiffs based on the same conduct.”).

       To determine whether substantial overlap exists, the Court should consider whether

the core issues in both cases are the same and whether “much of the proof adduced . . . would

likely be identical.” Int’l Fid. Ins. Co. v. Sweet Little Mex. Corp., 665 F.3d 671, 678 (5th Cir.

2011). The cases and the parties involved need not be identical for substantial overlap to be

present. Save Power Ltd., 121 F.3d at 950. Where cases and parties are not identical, the court

should consider: (1) overlap of the substantive issues, (2) likelihood of conflict between the

cases, and (3) “the comparative advantage and interest of each forum in resolving the

dispute.” Sweet Little Mex. Corp., 665 F.3d at 678.

       The core issue in both the Holland case and this case is whether Paul scammed his fans

by promoting his CryptoZoo project and enticing fans to purchase Zoo Tokens and

CryptoZoo NFTs:




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the two cases demonstrates, at a minimum, a likelihood of substantial overlap between the

two cases.

          Accordingly, because a likelihood substantial overlap exists between this case and the

Holland case, the “first to file” rule should apply.

    IV.        This Court should stay this case pending the ruling on whether a likelihood of
               substantial overlap exists.

          While this Court decides whether a likelihood of substantial overlap exists between

this case and the Holland case, the Court should stay these proceedings.

          The Court has inherent power to control its own docket, including the power to stay

or abate proceedings. See Hill v. Frito-Lay, Inc., No. 4:22-CV-518, 2023 WL 2759764, at *3

(E.D. Tex. Apr. 3, 2023); see also Elham v. State Farm Mut. Auto. Ins. Co., No. 4:24-CV-02235,

2024 WL 4219745, at *3 (S.D. Tex. Sept. 17, 2024). Where, as here, a party has invoked the

“first to file” rule, the Fifth Circuit has endorsed a stay “to permit the court of first filing to

rule on the motion to transfer.” W. Gulf Mar. Ass’n v. ILA Deep Sea Local 24, S. Atl. & Gulf Coast

Dist. of ILA, AFL-CIO, 751 F.2d 721, n.1 (5th Cir. 1985); see also Monahan v. Sw. Airlines Co.,

No. W21CV00887ADADTG, 2022 WL 18585969, at *3 (W.D. Tex. July 5, 2022) (staying a

case pending the ruling on a related case pending at the Fifth Circuit pursuant to the “first to

file” rule).

          Decisions regarding “[h]ow to best manage the court’s docket ‘calls for the exercise of

judgment, which must weigh competing interests and maintain an even balance.’” Hill, 2023

WL 2759764, at *3. Further, in deciding whether to stay a case, the court should consider the

interests of each party and how to conserve judicial resources. Id.

          A stay is warranted here because Paul is using this case to punish Coffeezilla for his

reporting. See Exs. D, E, F, G, H, I, J. Even Paul acknowledges a defamation suit, like this

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one, will hurt Coffeezilla financially. See Ex. I

                                . Further, Paul filed another motion to compel this week which

will require Coffeezilla to spend additional resources briefing a response and this Court will

need to spend additional resources ruling on the same. See ECF No. 77. So, evaluating the

interests of the parties and judicial resources, staying these proceedings pending the Court’s

determination as to whether a likelihood of substantial overlap exists between the two cases

is the equitable solution.

                                     REQUESTED RELIEF

       For these reasons, Defendants respectfully request that the Court (i) grant this motion,

(ii) transfer this case to the Austin Division so the Holland court can decide whether it should

be abated or consolidated, (iii) stay this case in this Court pending the ruling on whether a

likelihood of substantial overlap exists, and (iv) award Defendants all other relief at law or in

equity to which they are entitled.




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Dated: April 15, 2025

                                                    Respectfully submitted,

                                                    DAVIS & SANTOS, PLLC


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                                                    Attorneys for Defendants Stephen Findeisen
                                                    and Coffee Break Productions, LLC

                            CERTIFICATE OF CONFERENCE

        I certify that on April 10–11, 2025, I conferred with counsel for Logan Paul regarding
the relief requested in this Motion. Counsel for Plaintiff indicated that they are opposed to the
Motion.

                                                           /s/Caroline Newman Small
                                                           Caroline Newman Small

                               CERTIFICATE OF SERVICE

       I certify that on April 15, 2025, the foregoing document was electronically filed with
the Clerk of the Court using the CM/ECF system and all counsel of record will receive an
electronic copy via the Court’s CM/ECF system.

                                                           /s/Caroline Newman Small
                                                           Caroline Newman Small




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